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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

TERRY MARTIN,

       Plaintiff,

       v.
                                                    No. 07 CV 4991
J. QUINN, J.R. MASEY and the CITY OF
CHICAGO,                                            Judge Guzman

       Defendants.                                  Magistrate Judge Cox


                                  NOTICE OF FILING

Please take notice that on July 31, 2008, the following documents:

Notice of Filing
Plaintiff’s Amended Motion in Limine No. 9

were electronically filed with the CM/ECF system of the District Court for the Northern
District of Illinois at the Dirksen Building, 219 S Dearborn, Chicago, Illinois.

                              CERTIFICATE OF SERVICE

       I hereby certify that on July 31, 2008 a copy of the above listed documents will be
sent by operation of the Court’s Electronic Filing System to all parties indicated on the
electronic filing receipt. Parties may access this filing through the Court’s system.
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                                         Respectfully submitted,

                                         s/Blake Horwitz_______
                                         Blake Horwitz

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